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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

LEAGUE OF UNITED LATIN                             §
AMERICAN CITIZENS, SOUTHWEST                       §
VOTER REGISTRATION EDUCATION                       §
PROJECT, et al.,                                   §
                                                   §
               Plaintiffs,                         §
v.                                                 §    EP-21-CV-00259-DCG-JES-JVB
                                                   §                [Lead Case]
GREG ABBOTT, in his official capacity as           §
Governor of the State of Texas, JOSE A.            §
ESPARZA, in his official capacity as               §
Deputy Secretary of the State of Texas,            §
                                                   §
               Defendants.                         §
                                                   §
DAMON JAMES WILSON, for himself                    §
and on behalf of all others similarly situated,    §
                                                   §
               Plaintiffs,                         §
v.                                                 §    Case No. 1:21-CV-00943-RP-JES-JVB
                                                   §             [Consolidated Case]
STATE OF TEXAS, GREG ABBOTT, in                    §
his official capacity as Governor of the State     §
of Texas, et al.,                                  §
                                                   §
               Defendants.                         §
                                                   §
VOTO LATINO, ROSALINDA RAMOS                       §
ABUABARA, et al.,                                  §
                                                   §
               Plaintiffs,                         §
v.                                                 §    Case No. 1:21-CV-00965-RP-JES-JVB
                                                   §          [Consolidated Case]
JOHN SCOTT, in his official capacity as            §
Texas Secretary of State, and GREG                 §
ABBOTT, in his official capacity as                §
Governor of the State of Texas,                    §
                                                   §
               Defendants.                         §
                                                   §

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MEXICAN AMERICAN LEGISLATIVE                      §
CAUCUS, Texas House of Representatives,           §
                                                  §
               Plaintiff,                         §
v.                                                §    Case No. 1:21-CV-00988-RP-JES-JVB
                                                  §          [Consolidated Case]
STATE OF TEXAS, GREG ABBOTT, in                   §
his official capacity as Governor of the State    §
of Texas, et al.,                                 §
                                                  §
               Defendants.                        §
                                                  §
ROY CHARLES BROOKS, FELIPE                        §
GUTIERREZ, et al.,                                §
                                                  §
               Plaintiffs,                        §
v.                                                §    Case No. 1:21-CV-00988-RP-JES-JVB
                                                  §          [Consolidated Case]
GREG ABBOTT, in his official capacity as          §
Governor of the State of Texas, and JOHN          §
SCOTT, in his official capacity as Secretary      §
of the State of Texas,                            §
                                                  §
               Defendants.                        §
                                                  §
TEXAS STATE CONFERENCE OF THE                     §
NAACP,                                            §
                                                  §
               Plaintiff,                         §
v.                                                §    Case No. 1:21-CV-01006-RP-JES-JVB
                                                  §          [Consolidated Case]
GREG ABBOTT, in his official capacity as          §
Governor of the State of Texas, and JOHN          §
SCOTT, in his official capacity as Secretary      §
of the State of Texas,                            §
                                                  §
               Defendants.                        §
                                                  §
FAIR MAPS TEXAS ACTION                            §
COMMITTEE, OCA-GREATER                            §
HOUSTON, et al.,                                  §
                                                  §
               Plaintiffs,                        §

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 v.                                              §     Case No. 1:21-CV-01038-RP-JES-JVB
                                                 §           [Consolidated Case]
 GREG ABBOTT, in his official capacity as        §
 Governor of the State of Texas, and JOHN        §
 SCOTT, in his official capacity as Secretary    §
 of the State of Texas,                          §
                                                 §
                Defendants.                      §

                ORDER DENYING MOTION FOR RECONSIDERATION

        IT IS ORDERED that Plaintiffs Voto Latino, Rosalinda Ramos Abuabara, et al.’s

“Motion for Reconsideration of Order Convening Three-Judge Court and for Remand to the U.S.

District Court for the Western District of Texas” (ECF No. 19) is DENIED.

        So ORDERED and SIGNED on this 22nd day of November 2021 on behalf of the

Three-Judge Panel.



                                                 ____________________________________
                                                 DAVID C. GUADERRAMA
                                                 UNITED STATES DISTRICT JUDGE




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